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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No.

 DENVER PUBLIC SCHOOLS

        Plaintiff,

 v.

 KRISTI NOEM, Secretary of the United States
 Department of Homeland Security, in her
 official capacity, and DEPARTMENT
 OF HOMELAND SECURITY,

        Defendants.




             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


        For its Complaint, Plaintiff, Denver Public Schools (“DPS” or “Plaintiff”), through

 its undersigned counsel, alleges as follows:

                                      INTRODUCTION

        1.      Public education is paramount to the survival of any community; it is the

 bedrock upon which a community thrives. For roughly 121 years, DPS has been that

 bedrock for the City of Denver, Colorado. Now the largest public school district in

 Colorado, DPS is responsible for the education and safety of more than 90,000

 students.

        2.      Over those 121 years, DPS has always sought to provide a safe and

 enriching environment for all its students. DPS’s first and foremost value is “Students
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 First,” meaning DPS strives to put the needs of its students at the heart of every

 decision.

        3.     DPS understands that students entering its schools are not blank slates or

 all the same. They come from families with diverse religious, cultural, and political

 beliefs, different socio-economic backgrounds, and various immigration statuses. DPS’s

 mission and values do not depend on such metrics. Indeed, consistent with the very

 model of public education, providing education to local children (regardless of their

 personal circumstances) is integral to DPS’s role in the community.

        4.     For at least the last 30 years, DPS’s goal of providing a safe environment

 for its students and their families was buttressed by the federal government’s policy not

 to enforce immigration laws in “protected areas” such as schools, as well as houses of

 worship, and hospitals (generally, the “Protected Areas Policy”). Thus, parents across

 Denver enroll their children in public schools believing that while at school, their children

 will be educated and enriched without fear the government will enforce immigration laws

 on those premises.

        5.     In one of the most recent iterations of the longstanding Protected Areas

 Policy, the Department of Homeland Security (“DHS”) made clear that many factors

 should be considered in any enforcement action, “including the location in which we are

 conducting the action and its impact on other people and broader societal interests.”

 (Memorandum from Alejandro N. Mayorkas, Secretary, Department of Homeland

 Security, Guidelines for Enforcement Actions in or Near Protected Areas, at 2 (Oct. 27,




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 2021) ( “2021 Memo”), attached as Exhibit 1.).1 The longstanding Protected Areas

 Policy specifically identified “a school, such as a pre-school, primary or secondary

 school, vocational or trade school, or college or university” as a protected area because

 people will feel hesitant to receive these essential educational services without

 protection,. (Id. at 2.)

        6.       Even though versions of the Protected Areas Policy had been in place for

 over 30 years, mere days after President Donald Trump’s new administration took

 office, DHS purportedly issued a directive rescinding the Protected Areas Policy.

        7.      DHS has not published this “directive” on its website or released it

 publicly.

        8.      Instead, DPS learned of the existence of this new policy from a January

 21, 2025, Fox News article that reported that Fox News “reviewed a draft” of the new

 policy. (See Adam Shaw & Bill Melugin, Trump DHS repeals key Mayorkas memo

 limiting ICE agents, order parole review, FOX NEWS (Jan. 21, 2025), attached as Exhibit

 2.)2

        9.      On January 21, 2025, DHS issued a press release confirming that Acting

 DHS Secretary Benjamine Huffman had issued a directive that “rescinds the Biden

 Administration’s guidelines for Immigration and Customs Enforcement (ICE) and

 Customs and Border Protection (CBP) enforcement actions that thwart law enforcement



 1 Available at https://www.dhs.gov/sites/default/files/publications/21_1027

 _opa_guidelines-enforcement-actions-in-near-protected-areas.pdf.
 2 See https://www.foxnews.com/politics/trump-dhs-repeals-key-mayorkas-memo-

 limiting-ice-agents-orders-review-parole-use.

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 in or near so-called ‘sensitive’ areas.” (See Press Release, Department of Homeland

 Security, Statement from a DHS Spokesperson on Directive Expanding Law

 Enforcement and Ending the Abuse of Humanitarian Parole (Jan. 21, 2025), attached

 as Exhibit 3.)3

        10.    The January 21 Press Release did not attach or link any memo or other

 written guidance about the rescindment of the Protected Areas Policy.

        11.    By all accounts, the new DHS policy gives federal agents virtually

 unchecked authority to enforce immigration laws in formerly protected areas, including

 schools. As reported to the public, the sole restraint on agents is that they use their own

 subjective “common sense” to determine whether to carry out enforcement activities at

 formally safeguarded locations such as schools. (See id.)

        12.    DPS has devoted significant time and resources preparing for the impacts

 of the new administration’s anticipated rescindment of this decades-long norm and

 reacting to the subsequent rescindment. This includes supporting its students and

 families in an uncertain time—tasks that distract and divert resources from DPS’s core

 and essential educational mission.

        13.    If DHS is going to entirely upend a longstanding policy—especially one

 that directly impacts the daily lives (not to mention potential long-term prospects) of

 Denver residents—it must follow specific procedures. As described herein, DHS has not

 followed any of those procedures. As such, the Court should grant a preliminary



 3 Available at: https://www.dhs.gov/news/2025/01/21/statement-dhs-spokesperson-

 directives-expanding-law-enforcement-and-ending-abuse.

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 injunction enjoining immigration enforcement actions on or near school grounds and

 vacate DHS’s new 2025 Policy (as defined herein) as it applies to schools.

                                          PARTIES

        14.     Plaintiff DPS is Colorado’s largest public school district, with over 90,000

 students currently enrolled in its 207 schools. (See Colorado Department of Education,

 Denver County School District Profile, (last visited Feb. 11, 2025).)4 DPS guarantees

 an education to any student located within its district boundaries and enrollment zones,

 regardless of that student’s immigration status. DPS’s mission is to prepare every one

 of its students for careers, college, and life by creating conditions where students and

 families belong and thrive.

        15.     Defendant DHS is a federal cabinet agency responsible for implementing

 and enforcing the Immigration and Nationality Act (“INA”). DHS is an agency within the

 meaning of 5 U.S.C. § 551(1). DHS, as well as its component agencies, U.S. Customs

 and Border Protection (“CBP”) and U.S. Immigration and Customs Enforcement (“ICE”),

 have responsibility for, among other things, administering and enforcing the nation’s

 immigration laws.

        16.     Defendant Kristi Noem is the Secretary of DHS. Defendant Noem is sued

 in her official capacity.

                     SUBJECT MATTER JURISDICTION AND VENUE

        17.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.




 4 Available at: https://www.cde.state.co.us/schoolview/explore/profile/0880.



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        18.     Declaratory and injunctive relief is sought as authorized in 28 U.S.C. §§

 2201 and 2022, and vacatur under 5 U.S.C. § 702.

        19.     Venue is proper under 28 U.S.C. § 1391(b). Defendants are United States

 agencies or officers sued in their official capacities. Plaintiff is a public school district in

 the State of Colorado whose residents reside in the State of Colorado, and the events

 giving rise to this Complaint occurred, are occurring, and will occur in the State of

 Colorado, within the City of Denver.

                                   STATEMENT OF FACTS

        A.      History of the Protected Area Policy

        20.     Prior to 1993, federal immigration enforcement officers used school

 grounds as a location to conduct immigration enforcement activities. See Murillo v.

 Musegades, 809 F. Supp. 487, 495 (W.D. Tex. 1992). As a federal district judge for the

 Western District of Texas recounted, immigration enforcement officers had a “regular,

 consistent, and prominent presence” on a particular high school campus. Id. The district

 judge decried the practice, finding that the high school was intended to “provide[] an

 oasis of safety and freedom for the students and staff who reside within the School

 District” but that the “continued harassment” by immigration authorities had “invad[ed] . .

 . the oasis.” Id.

        21.     On May 17, 1993, James Puleo, the Acting Associate Commissioner of

 the Immigration and Naturalization Service (the “INS”), signed a Memorandum titled

 “Enforcement Activities at Schools, Places of Worship, or at Funerals or other Religious




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 Ceremonies.” (See Memorandum from James A. Puleo (the “1993 Memo”), attached as

 Exhibit 4.)5

        22.     The 1993 Memo established “a policy of the [INS] to attempt to avoid

 apprehension of persons and to tightly control investigative operations on the premises

 of schools, places of worship, funerals and other religious ceremonies.” (Id. at 1.) Under

 the 1993 Memo, apart from “exigent circumstances,” any immigration enforcement

 operation that was “likely to involve apprehensions on the premises of schools, places

 of worship, funerals and other religious ceremonies” required “advance written approval”

 from certain specified supervisory agents. (Id. at 1-2.) In determining the

 appropriateness of such operations, these supervisory agents were required to consider

 four factors: (1) “[t]he availability of alternative measures which would achieve the

 enforcement objective, such as “making the arrest off the premises;” (2) “[t]he

 importance of the enforcement objective in the context of [INS] priorities;”

 (3) “[m]easures which can be taken to minimize the impact on operation of the school or

 place of worship;” and (4) “[w]hether the action ha[d] been requested or approved by

 managers of the institution involved.” (Id. at 2.)

        23.     In continuation of this policy, on December 26, 2007, Marcy Forman, the

 Director of the Office of Investigations of ICE, issued a memorandum titled

 “Enforcement Action at Schools” (Memorandum from Marcy M. Forman, (Dec. 26, 2007)




 5 Available at: https://www.aila.org/aila-files/0630B9EA-805A-4353-92DE-

 4DEBE638D0B8/08050774.pdf (pages 9-11).

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 (the “2007 Memo”), attached as Exhibit 5.)6 The 2007 Memo observed inter alia that

 (1) “[t]he presence of [ICE] law enforcement agents conducting investigative activity at

 schools . . . has always been a point of particular sensitivity[;]” and (2) “great care and

 forethought [must] be applied before undertaking any investigative or enforcement type

 action at or near schools[.]” (Id. at 1.) Thus, pursuant to the 2007 Memo, prior approval

 was required before undertaking any enforcement action or investigative activity that

 included the “possibility of detention or questioning of subjects” at schools. The policy

 did not apply to “terrorism-related investigations, cases of public safety[,] or other cases

 that can be articulated.” (Id.) The 2007 Memo did not purport to rescind or supersede

 the 1993 Memo.

        24.    On July 3, 2008, Julie Myers, the Assistant Secretary of ICE, issued a

 memorandum titled “Field Guidance on Enforcement Actions or Investigative Activities

 At or Near Sensitive Community Locations.” (Memorandum from Julie Myers, (Jul. 3,

 2008) (the “2008 Memo”), attached as Exhibit 6.)7 The 2008 Memo stated, “ICE

 personnel should refrain from conducting enforcement actions or investigative activities

 at or near sensitive community locations such as schools, places of worship, and

 funerals or other religious ceremonies, except in limited circumstances as set forth

 within [the 2008 Memo].” As articulated in the 2008 Memo, which referenced both the

 1993 Memo and the 2007 Memo, “[p]recedent for this approach is clear.” (Id. at 1.) The


 6 Available at:

 https://www.ice.gov/doclib/foia/policy/10029_EnforcementActionsSchool_12.26.2007.pd
 f.
 7 Available at: https://www.aila.org/aila-files/66F1AEF1-A758-4979-9B52-

 40FEC0A344B0/10102632.pdf.

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 2008 Memo reinforced that “ICE policies are in place to ensure that our personnel

 conduct enforcement operations in a manner that is safe and respectful of all persons”

 and that “ICE views these actions with particular sensitivity.” (Id.) The 2008 Memo did

 not purport to rescind or supersede the 1993 Memo or 2007 Memo.

        25.    On October 24, 2011, John Morton, Director of ICE, issued a

 memorandum titled “Enforcement Actions at or Focused on Sensitive Locations” (the

 “2011 Memo”), which superseded “all prior agency policy on this subject,” including the

 2008 Memo, 2007 Memo, and 1997 Memo. (See Memorandum from John Morton, (Oct.

 24, 2011), attached as Exhibit 7.)8 The 2011 Memo set forth a policy that ICE

 enforcement actions would not occur at “sensitive locations such as schools and

 churches unless (a) exigent circumstances exist, (b) other law enforcement actions

 have led officers to a sensitive location as described [in the 2011 Memo], or (c) prior

 approval is obtained.” (Id. at 1.)9 The 2011 Memo covered arrests, interviews, searches,

 and surveillance at a non-exhaustive list of locations, including schools, hospitals,

 institutions of worship, sites of a funeral, wedding, or other public religious ceremony,

 and sites during the occurrence of a public demonstration. (Id. at 2.) In addition, the

 2011 Memo specifically cautioned that “extra care” should be taken when “assessing


 8 Available at: https://www.ice.gov/doclib/ero-outreach/pdf/10029.2-policy.pdf.
 9 Specifically, the 2011 Memo set out (1) a general rule that any planned enforcement at

 or focused on a sensitive location “must have prior approval” from agency leaders; and
 (2) limited exceptions to this general rule for certain categories of “exigent
 circumstances., i.e., enforcement actions that involved: “a national security or terrorism
 matter;” “an imminent risk of death, violence or physical harm to any person or
 property;” “the immediate arrest or pursuit of a dangerous felon, terrorist suspect, or any
 other induvial(s) that present an imminent danger to public safety;” or “an imminent risk
 of destruction of evidence material to an ongoing criminal case.” Id. at 2-3.

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 whether a planned enforcement action could reasonably be viewed as causing

 significant disruption to the normal operations of a sensitive location.” (Id.)

        26.    On October 27, 2021, Alejandro Mayorkas, Secretary of DHS, issued a

 memorandum entitled “Guidelines for Enforcement Actions in or Near Protected Areas”

 (the “2021 Memo”), which superseded and rescinded the 2011 Memo. (See generally

 Ex. 1.) The 2021 Memo provided “guidance for ICE and CBP enforcement action in or

 near areas that require special protection.” (Id. at 1.) The 2021 Memo set forth what it

 described as a “fundamental” and “bedrock” principle: that DHS and its component

 agencies “can accomplish [their] enforcement mission without denying or limiting

 individuals’ access to needed medical care, children access to their schools, the

 displaced access to food and shelter, people of faith access to their places of worship,

 and more.” (Exhibit 1 at 2.) Accordingly, the 2021 Memo stated: “[t]o the fullest extent

 possible, [DHS and its component agencies] should not take an enforcement action in

 or near a location that would restrain people’s access to essential services or

 engagement in essential activities.” (Id.) The 2021 Memo explicitly listed schools as an

 example of such a location, as well as “place[s] where children gather, such as a . . .

 school bus stop.” (Id. at 2-3.)10


 10 Like the 2011 Memo, the 2021 Memo was subject to exceptions, recognizing certain

 “limited circumstances under which an enforcement action needs to be taken in or near
 a protected area.” Id. at 3. Examples of such “limited circumstances” included
 enforcement actions that involved: a national security threat, an imminent risk of death,
 violence, or physical harm to a person, the hot pursuit of an individual who poses a
 public safety threat, the hot pursuit of a personally observed border-crosser, an
 imminent risk that evidence material to a criminal case will be destroyed, and
 circumstances where a safe alternative location does not exist. Id. at 3-4. Absent such



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        27.    In sum, the 2021 Memo, like those before it, placed mandatory procedural

 (prior approval) or situational (well-defined exigent circumstances) limitations on an

 agent’s or officer’s ability to conduct an immigration enforcement action on school

 properties. According to an August 8, 2023, Fact Sheet published by DHS,11 violations

 of the policy set forth in the 2021 Memo could be reported through a complaint directed

 towards ICE, CBP, the DHS Office of the Inspector General, and/or DHS’s Office for

 Civil Rights and Civil Liberties. (See U.S. Immigration and Customs Enforcement Fact

 Sheet, Protected Areas Enforcement Actions (Aug. 8, 2023), attached as Exhibit 8, at

 3.)

        28.    The Protected Areas Policy enshrines a “bedrock” principle that, absent

 prior approval or exigent circumstances, schools could proceed with their mission of

 educating and providing services for all students—regardless of their immigration

 status—without those students or their family members being arrested on school

 grounds for immigration violations.

        29.    The Protected Areas Policy worked. Instead of the systemic practice of

 intimidation towards students recounted by the court in Murillo v. Musegades, 809 F.

 Supp. 487, INS and CBP conducted notably few immigration enforcement activities on

 school grounds. According to a 2022 report to Congress,12 under the Protected Areas


 “exigent circumstances,” an agent or officer was required to seek prior approval from
 their agency’s headquarters (or their delegee) prior to taking any enforcement action in
 or near a protected area. Id. at 4.
 11 Available at: https://www.ice.gov/factsheets/protected-areas-courthouse-arrests.
 12 Available at: https://www.dhs.gov/sites/default/files/2022-06/ICE%20-

 %20Immigration%20Enforcement%20at%20Sensitive%20Locations.pdf. From



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 Policy, as set forth in the 2011 Memo and 2021 Memo, ICE conducted an “extremely

 limited number of enforcement actions . . . at sensitive locations[.]” (U.S. Immigration

 and Customs Enforcement, Immigration Enforcement at Sensitive Locations, Fiscal

 Year 2020 Report to Congress (Apr. 18, 2022) at 2, excerpts attached as Exhibit 9.)

 Specifically, ICE data from October 1, 2018, through October 31, 2020 reflects that ICE

 conducted only two Enforcement and Removal Operations arrests at a school

 nationwide. (Id. at 48-49.) During that same period, ICE only conducted eighteen

 Enforcement and Removal Operations arrests near a school. (Id.)

         30.   For decades, DPS, its students, and their families have relied on this

 Protected Areas Policy to provide education and services for their students.

         31.   Against this stable backdrop of security on school grounds, DPS solidified

 its own protections for children attending its schools by passing policies prohibiting the

 collection of information relating to student immigration status and placing specific

 guidelines on DPS employees relating to requests for interviews from immigration

 officials.

         B.    The Protected Areas Policy Rescission

         32.   On January 21, 2025, Fox News reported that it had reviewed a draft of a

 DHS memorandum rescinding the 2021 Memo. (See Ex. 2.)

         33.   Later that same day, a press release (the “January 21 Press Release”)

 appeared on DHS’s official website stating that Acting DHS Secretary Benjamine


 October 1, 2017 through October 31, 2020, nationwide, there were twenty-two ICE
 Homeland Security Investigation Arrests at schools and universities. (See Table 2 at 49-
 51.)

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 Huffman had, on January 20, 2025, issued a “directive” that “rescinds the Biden

 Administration’s guidelines for [ICE] and [CBP] enforcement actions that thwart law

 enforcement in or near so-called ‘sensitive’ areas.” (See January 21 Press Release, Ex.

 3.)

        34.    The January 21 Press Release contained the following “statement

 attributable to a DHS Spokesperson”:

               This action empowers the brave men and women in CBP and ICE
               to enforce our immigration laws and catch criminal aliens—
               including murders [sic] and rapists—who have illegally come into
               our country. Criminals will no longer be able to hide in America’s
               schools and churches to avoid arrest. The Trump Administration
               will not tie the hands of our brave law enforcement, and instead
               trusts them to use common sense.

 (See January 21 Press Release, Ex. 3.)

        35.    On or around January 21, 2025, Caleb Vitello, the Acting Director of ICE

 (“Vitello”), explicitly confirmed the existence of a memo relating to the Protected Areas

 Policy and the 2021 Memo. (See Memorandum from Caleb Vitello, Acting Director of

 U.S. Immigration and Customers Enforcement, Interim Guidance: Civil Immigration

 Enforcement Actions in or near Courthouses (Jan. 21, 2025), attached as Exhibit 10.)13

 Specifically, a memorandum issued by Vitello entitled “Interim Guidance: Civil

 Immigration Enforcement Actions in or near Courthouses” referenced a “Memorandum

 from the Acting Secretary of Homeland Security Benjamine Huffman, Enforcement

 Actions in or Near Protected Areas (Jan. 20, 2025)” (“Huffman Memo”) and noted that



 13 Available at: https://www.ice.gov/doclib/foia/policy/11072.3_CivilImmEnfActions

 Courthouses_01.21.2025.pdf.

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 “[t]he Acting Secretary’s Memorandum also supersedes and rescinds Alejandro

 Mayorkas’s October 27, 2021 memorandum entitled, Guidelines for Enforcement Action

 in or Near Protected Areas.” (Id. at 1.)

         36.   DPS is aware that on February 5, 2025, in a lawsuit captioned

 Philadelphia Yearly Meeting of the Religious Society of Friends et al. v. United States

 Department of Homeland Security et al., No. 8:25-cv-00243, pending in the United

 States District Court for the District of Maryland (“Maryland Lawsuit”), the plaintiffs

 attached a copy of the Huffman Memo to their amended complaint.

         37.   The Huffman Memo articulates little more than the January 21 Press

 Release. Instead, the Huffman Memo addresses enforcement actions in or near areas

 that DHS “previously determined require special protection.” (Huffman Memo, attached

 as Exhibit 11, at 1.) Rescinding the 2021 Memo “effective immediately,” the Huffman

 Memo offers only the following as explanation and reasoning:

               Our brave men and women in uniform put their lives on the line
               every day to advance the rule of law and keep our people safe. As
               a part of that work, officers frequently apply enforcement discretion
               to balance a variety of interests, including the degree to which any
               law enforcement action occurs in a sensitive location.

               Going forward, law enforcement officers should continue to use that
               discretion along with a healthy dose of common sense. It is not
               necessary, however, for the head of the agency to create bright line
               rules regarding where our immigration laws are permitted to be
               enforced. The Director of ICE and the Commissioner of CBP may
               wish to issue further guidance to assist officers in exercising
               appropriate enforcement discretion.

 (Id.)




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         38.   In addition, and in response to the Maryland Lawsuit’s plaintiffs’ motion for

 a temporary restraining order and preliminary injunction, the defendants in the Maryland

 Lawsuit attached a copy of another memo—a January 31, 2025, memo from Vitello

 titled “Common Sense Enforcement Actions in or Near Protected Areas” (“Vitello

 Memo”) and together with the Huffman Memo, and the January 21 Press Release,

 “2025 Policy”). (See generally Vitello Memo, attached as Exhibit 12, at 1.)

         39.   The Vitello Memo echoes the Huffman Memo. It notes that the Huffman

 Memo “acknowledges the ability of [DHS] law enforcement personnel to apply

 enforcement discretion to balance a variety of interests, including the degree to which

 law enforcement actions occur in protected areas,” that DHS “will not be issuing bright-

 line rules regarding where immigration laws are permitted to be exercised,” and that

 DHS has instead authorized ICE and CBP to issue further guidance. (Id. at 2.)

         40.   As that “guidance,” the Vitello Memo states that Vitello “ha[s] great faith in

 the judgment of our law enforcement personnel and, accordingly, charge[s] Assistant

 Field Office Directors (AFODs) and Assistant Special Agents in Charge (ASACs) with

 responsibility for making case-by-case determinations regarding whether, where, and

 when to conduct an immigration enforcement action in or near a protected area.” (Id. at

 3.)14




 14 The Vitello Memo does offer one additional piece of guidance for enforcement action

 “at a site where a public demonstration is underway,” in which case “AFODs and
 ASACs must consult with local Office of the Principal Legal Advisor leadership for
 guidance on constitutional considerations.” (Vitello Memo, Ex. 12 at 3.)

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        41.    The 2025 Policy contains no further rationale for rescinding the 2021

 Memo.

        42.    The 2025 Policy does not discuss any facts or data relevant to the

 decision to maintain or remove protections for schools.

        43.    The 2025 Policy does not consider schools’ or students’ reliance interests

 in school grounds remaining protected areas.

        44.    The 2025 Policy makes no rational connection between established facts

 and the decision to rescind the Protected Areas Policy.

        45.    Specifically, the only reasoning provided for rescinding the Protected

 Areas Policy is that “[c]riminals,” specifically “murders [sic] and rapists,” are successfully

 “hid[ing] in America’s schools . . . to avoid arrest” and that “officers frequently apply

 enforcement discretion to balance a variety of interests.” (See January 21 Press

 Release, Ex. 3; Huffman Memo, Ex. 11 at 1. See also Vitello Memo, Ex. 12 at 1.)

        46.    The January 21 Press Release offers no factual support, analysis, or

 evidence for its assertion that there are “murders [sic] and rapists” “hid[ing] in America’s

 schools.”

        47.    Furthermore, even if facts and data supported the purported rationale, the

 January 21 Press Release does not address why this assertion is grounds for

 rescinding the Protected Areas Policy generally, and the 2021 Memo specifically, when

 every iteration of the Protected Areas Policy has contained grounds for initiating

 enforcement actions on school grounds under such exigent circumstances as a rapist or

 murderer hiding on school grounds.



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        48.      The same can be said for the Huffman and Vitello Memos: that

 immigration officers “frequently apply enforcement discretion” does not provide a

 rationale for rescinding the Protected Areas Policy or the decades-long history of

 considering schools to be a “sensitive” area where—except in certain situations (where

 the officers could exercise some discretion)—immigration enforcement actions were to

 be avoided “to the fullest extent possible” because it is a ”fundamental” principle that the

 government “can accomplish [its] enforcement mission without denying or limiting . . .

 children access to their schools.” (2021 Memo, Ex. 1 at 2.)

        49.      The 2025 Policy does not provide a policy to replace the 2021 Memo,

 aside from an unsupported assertion about criminals hiding in school and general

 statements about discretion.

        50.      The 2025 Policy was a final agency action that occurred entirely behind

 closed doors.

        51.      DHS has not published or otherwise publicly released the Huffman or

 Vitello Memos. The undersigned counsel located the memos as attached filings in a

 lawsuit in another state. DHS counsel apparently provided the memos in that matter.

 Still, the general public has no access to these Memos, nor do the schools, churches,

 hospitals, and other institutions whose operations are upended by the reversal of the

 long-standing protections of the 2021 Memo.

        C.       DPS’s Services and Operations

        52.      DPS hosts a diverse student body, reflecting a cross-section of the City of

 Denver’s community. As of the 2023-2024 school year, over 200 languages are spoken



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 by DPS students and families, over 40% of students speak another language at home,

 and 51.8% of DPS students were Hispanic/Latinx. (See Denver Public Schools, Annual

 District Report Strategic Roadmap Update 2023-24 (last visited Feb. 11, 2025),

 excerpts attached as Exhibit 13, pg. 2, 3.) 15

        53.    The City of Denver has seen a significant influx in migrant arrivals

 recently. Since January 2023, the City of Denver estimates that it has welcomed nearly

 43,000 migrants arriving from the U.S. southern border. (See Denver Mile High City,

 Newcomer and Migrant Support (last visited Feb. 11, 2025).)16

        54.    These new arrivals include many families with school-aged children.

        55.    It is estimated that during the 2023-2024 school year, approximately 4,000

 immigrant students attended DPS schools. (Jessica Seaman, Colorado’s public school

 enrollment to fall, but immigrant students are helping fill classrooms, THE DENVER POST

 (Jan. 16, 2025, 12:41 PM), attached Exhibit 14.)17 80% of the students who finished the

 school year returned in the fall for the 2024-2025 school year. (Id.)

        56.    Other non-citizens who lack immigration documents or legal authorization

 to be present in the United States have resided in Denver for longer. Many such

 individuals have families and children.


 15 Available at: https://issuu.com/dpscommunications/docs/2024_roadmap_report_

 final_web?fr=sMzQ3YTY0MDIxMjk.
 16 Available at: https://www.denvergov.org/Community/Assistance-Programs/

 Newcomer-and-Migrant-Support/Media-Dashboard.
 17 Available at: https://www.denverpost.com/2025/01/15/colorado-public-school-

 enrollment-2024/. See also Rachel Krause, DPS reflects on welcoming thousands of
 migrant students, begins preps for next school year, 9NEWS (Jun. 3, 2024, 10:41 PM),
 https://www.9news.com/article/news/education/school-year-denver-public-schools-
 summer-4700-migrant-students/73-552597ce-b8e5-42e7-a9bb-4fe1efb3a3a2.

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        57.    DPS is legally obligated to enroll students regardless of their immigration

 status, and DPS affirmatively welcomes all students. (Denver Public Schools, Denver

 Public Schools is a Safe and Welcoming School District (last visited Feb. 11, 2025).)18

        58.    DPS does not ask for students’ immigration status when they enroll.

        59.    However, on information and belief, some of these new-to-country

 students, as well as other students who have been enrolled in DPS schools for a longer

 period of time, lack legal authorization to be present in the United States, or have a

 family member or guardian who lacks legal authorization to be present in the United

 States.

        60.    Under immigration enforcement guidance in place since 1993, these

 students would have attended DPS schools without fear or concern of immigration

 enforcement actions being taken against them or their family members while on DPS

 school grounds.

        61.    During this time, DPS pursued its mission of providing quality education

 for all children residing within its district boundary. In pursuing its mission, DPS relied

 upon the Protected Areas Policy.

        62.    In addition to providing education to all its students, DPS provided basic

 resources to all of its students. For example, during the 2023-2024 school year, DPS

 provided free lunches and breakfasts without regard to a student’s immigration status.




 18 Available at: https://www.dpsk12.org/page/safe-and-welcoming-school-district/.



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        63.    Since the announcement of the 2025 Policy, school attendance has

 decreased noticeably across all DPS schools, particularly those schools in areas with

 new-to-country families and where ICE raids have already occurred.

        64.    DPS is hindered in fulfilling its mission of providing education and life

 services to the students who are refraining from attending DPS schools for fear of

 immigration enforcement actions occurring on DPS school grounds.

        65.    In addition, DPS has been forced to divert resources from its educational

 mission to prepare for immigration arrests on DPS school grounds.

        66.    DPS has therefore spent significant time and resources implementing

 policies ensuring student safety and training staff and faculty to effectively respond to

 encounters with individuals claiming to be conducting immigration enforcement activities

 on school grounds.

        67.    Since the enactment of the 2025 Policy, DPS has also been forced to use

 resources to respond to false reports of ICE activities at schools.

        68.    In light of DPS’s mission to provide equal education for all students within

 the district boundary regardless of immigration status, DPS has additionally expended

 resources towards community outreach programs to ensure children and family

 members still feel safe and welcome at DPS schools.

        69.    Finally, the 2025 Policy constitutes a clear threat to DPS’s stability. DPS’s

 funding is calculated based primarily on a pupil count. The fear of immigration

 enforcement actions occurring at DPS Schools is leading to irregular and unpredictable

 attendance, which impacts DPS’s available funds and ability to accurately plan.



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        70.     Due to the 2025 Policy, DPS has suffered and will continue to suffer

 irreparable harm.

                                     CLAIM ONE
         (Violation of the Administrative Procedure Act, 5 U.S.C. § 706(2)(A))

        71.     DPS incorporates by reference each of the paragraphs in this Complaint

 as if restated fully herein.

        72.     The Administrative Procedure Act (“APA”) provides that federal courts

 “shall . . . hold unlawful and set aside agency action” that is “arbitrary, capricious, an

 abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

        73.     The 2025 Policy is governed by the APA, as it constitutes an agency

 action pursuant to 5 U.S.C. § 551(13) and constitutes a rule making pursuant to 5

 U.S.C. § 551(5).

        74.     The 2025 Policy constitutes final agency action in that it (i) “mark[s] the

 consummation of the agency’s decisionmaking process,” and (ii) is an action “by which

 rights or obligations have been determined”, or from which “legal consequences will

 flow.” See United States Army Corps of Eng’rs v. Hawkes Co., 578 U.S. 590, 597

 (2016) (internal quotations omitted).

        75.     “Agencies are free to change their existing policies as long as they provide

 a reasoned explanation for the change.” Encino Motorcars, LLC v. Navarro, 579 U.S.

 211, 221 (2016). This central requirement demands that where an agency changes an

 existing policy, it must “display awareness that it is changing position,” and demonstrate

 that “there are good reasons for the new policy.” FCC v. Fox TV Stations, Inc., 556 U.S.

 502, 515 (2009). Agencies must “examine the relevant data and articulate a satisfactory


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 explanation for [their] actions.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins.

 Co., 463 U.S. 29, 43 (1983).

        76.    When an agency “rescinds a prior policy its reasoned analysis must

 consider the alternatives that are within the ambit of the existing policy.” Dep’t of

 Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 30 (2020) (internal citations

 and quotations omitted).

        77.    The 2025 Policy is arbitrary and capricious for various reasons, including

 but not limited to:

               (a)     Defendants failed to provide “good reasons for the new policy,” let

 alone a “satisfactory explanation.” See Encino Motorcars, 579 U.S. at 221; Fox TV

 Stations, 556 U.S. at 515; State Farm, 463 U.S. at 43.

               (b)     Defendants failed to account for, much less adequately consider

 and address, the wide variety of costs and harms the rescission of the Protected Areas

 Policy will impose on DPS personnel, the DPS student population, and their families, or

 the likelihood that rescinding the Protected Areas Policy will negatively impact the

 community by chilling school attendance and the use of school resources.

               (c)     Defendants failed to consider the option to retain the Protected

 Areas Policy, which would avoid enforcement actions in protected areas to the fullest

 extent possible, while nevertheless allowing for enforcement actions to combat public

 safety threats in exigent circumstances.

               (d)     Defendants failed to address legitimate reliance on the Protected

 Area Policy. See Smiley v. Citibank (s.D.), N.A, 517 U.S. 735, 742 (1996). DHS is



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 obligated to consider the “existence and strength [of such reliance interests] . . . and

 weigh them against competing policy concerns.” Regents, 591 U.S. at 5.

        78.      The 2025 Policy and DHS’s rescission of the 2021 Memo is arbitrary and

 capricious and otherwise not in accordance with the law and therefore should be held

 invalid and set aside under the APA.

                                     CLAIM TWO
         (Violation of the Freedom of Information Act, 5 U.S.C. § 552(a)(2)(B))

        79.      DPS incorporates by reference each of the paragraphs in this Complaint

 as if restated fully herein.

        80.      The Freedom of Information Act (“FOIA”) provides that statements of

 policy and interpretations adopted by the agency and are not published in the Federal

 Register must be made available for public inspection in electronic format. 5 U.S.C. §

 552(a)(2)(B).

        81.      The Huffman and Vitello Memos likely constitute a “statement of general

 policy . . . formulated and adopted by the agency,” and, as such, must be made

 available to the public.

        82.      Defendants had an affirmative duty to make the 2025 Policy available for

 public inspection in electronic format. 5 U.S.C. § 552(a)(2)(B); Animal Legal Def. Fund

 v. United States Dep’t of Agric., 935 F.3d 858, 867 (9th Cir. 2019); Citizens for

 Responsibility & Ethics v. United States DOJ, 164 F. Supp. 3d 145, 147 (D.D.C. 2016).

        83.      The 2025 Policy has not been made publicly available for inspection.




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          84.   As a result of being unable to view the policy, DPS was uncertain about

 how, if at all, to prepare for this new policy. As a result, it has had to (and continues to

 have to) divert significant resources to prepare for a change of policy.

          85.   Defendants’ failure to make the 2025 Policy publicly available is a violation

 of 5 U.S.C. § 552(a)(2)(B), and therefore, the Court must order Defendants to produce

 the 2025 Policy. See 5 U.S.C. § 552(a)(4)(B).

                                    PRAYER FOR RELIEF

          86.   Plaintiff respectfully requests that this Court:

                (a)    Enjoin and vacate the 2025 Policy.

                (b)    Enjoin DHS and its constituent agencies from implementing,

 enforcing, or acting pursuant to the 2025 Policy on both a preliminary and permanent

 basis;

                (c)    Award Plaintiff’s costs of suit, attorneys’ fees, and expenses to the

 greatest extent authorized by all applicable laws;

                (d)    Require Defendants to make the 2025 Policy available for public

 inspection.

                (e)    Other such relief as the Court deems proper and necessary.




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 Dated: February 12, 2025


                                       s/ Emily L. Wasserman
                                       Tess Hand-Bender, Esq.
                                       Emily L. Wasserman, Esq.
                                       Claire E. Mueller, Esq.
                                       DAVIS GRAHAM & STUBBS LLP
                                       3400 Walnut Street, Suite 700
                                       Denver, CO 80205
                                       Telephone: 303.892.9400
                                       Facsimile: 303.893.1379
                                       tess.hand-bender@davisgraham.com
                                       emily.wasserman@davisgraham.com
                                       claire.mueller@davisgraham.com

                                       Attorneys for Plaintiff Denver Public
                                       Schools




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